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                                 UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLUMBIA



 FEDERAL TRADE COMMISSION,

          Plaintiff,
                  v.                                     Civil Action No. 20-3590 (JEB)


 META PLATFORMS, INC.,

          Defendant.




                                                   ORDER

         To ensure that the proceedings in this matter are conducted in a fair and orderly manner, the
Court ORDERS that:
   I.       Trial of this matter will begin promptly at 9:30 a.m., Monday through Thursday, in
            Courtroom 22A, and typically run until 5:00 p.m.
   II.      Courtroom 22A
            a. Reserved Seating.
                i. The row of seats inside the well on the left side of the courtroom facing the bench and
                   the first row of seats on the left side of the gallery are reserved for defense counsel and
                   personnel.
               ii. The row of seats inside the well on the right side of the courtroom facing the bench
                   and the first row of seats on the right side of the gallery are reserved for members and
                   representatives of the government trial team.
              iii. Two rows of seats will be designated for members of the media. Any available seats
                   in the media rows that are not filled ten minutes prior to the commencement of the
                   proceedings may be offered to other attendees.
              iv. One row will be reserved for court staff and others as designated by the Court.
               v. The remaining rows may be occupied by members of the general public, on a first-
                   come, first-served basis.
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         vi. Up to three sketch artists may sit in a designated area identified by the Court.
        vii. Adjustments to the seating plan may be made as circumstances warrant.
       viii. Lines for seats in the courtroom may form in the hallway outside Courtroom 22A. The
             courtroom will be opened for seating approximately 30 minutes prior to the start of the
             proceedings.
       b. Electronic Devices.
          i. All electronic devices must be turned off and stowed away upon entering Courtroom
             22A, unless explicitly authorized otherwise by the Court.
         ii. Attorneys and members of the trial teams representing the parties in this matter may
             use their laptops and electronic devices as necessary and authorized by the Court
             during the proceedings.
        iii. Use of talk-to-text software is prohibited.
         iv. Taking photographs, recording, transmitting, broadcasting, and livestreaming is
             prohibited. See infra ¶ IV.
III.   Video Feed Locations. The Court has arranged for a live video feed of the proceedings to be
       shown at two locations within the courthouse.
       a. Overflow Courtroom. Members of the general public and the media may use a
          designated overflow courtroom to view a live video feed of the proceedings from
          Courtroom 22A. Signs will be posted indicating the location of the overflow courtroom.
          i. Seating in the overflow courtroom will be on a first-come, first-served basis.
         ii. The first row inside the well and the first row in the gallery of the overflow courtroom
             will be reserved for the parties. Only counsel and authorized representatives of the
             parties may sit in the well of the overflow courtroom.
        iii. Use of talk-to-text software is prohibited.
         iv. Taking photographs, recording, transmitting, broadcasting, and livestreaming is
             prohibited. See infra ¶ IV.
       b. Media Room. Members of the media may view a live video feed from Courtroom 22A in
          a designated “media room,” the location of which will be posted on the main floor of the
          courthouse.
          i. Members of the media who wish to use the media room must have a media room pass
             and comply with the Media Room Rules of Use. Information about media room rules



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                and application forms for media room passes are available on the Court’s website:
                www.dcd.uscourts.gov/media-information.
             ii. The media room generally will be open by 8:30 a.m. each day.
            iii. Seats in the media room will be first-come, first-served, and may be limited to one per
                organization, depending upon the level of interest. Media organizations that have at
                least one reporter with a long-term media room pass are guaranteed at least one media
                room seat.
   IV.    Prohibition on Photographs, Recording, Transmitting, Broadcasting, and Livestreaming.
          Taking photographs, recording, transmitting, broadcasting, and livestreaming court
          proceedings is strictly prohibited throughout the courthouse, including in courtrooms,
          overflow rooms, and media rooms. Violation of this prohibition may result in sanctions,
          including removal of court-issued media credentials, denial of entry to future hearings, the
          closing of overflow and/or media rooms, or any other sanctions deemed necessary by the
          Court. See In re Prohibition of Photographing, Recording, Broadcasting, and Livestreaming
          Judicial Proceedings, Standing Order No. 24-31 (JEB) (Sept. 18, 2024).
   V.     Compliance with Court Staff Requests. Any member of the public or media who wishes to
          view the proceedings from Courtroom 22A, the designated overflow courtroom, or the media
          room must comply with any requests made by any Court Security Officer, the United States
          Marshals Service, or Court staff.
   VI.    Sealed Proceedings. If at any time the proceedings in Courtroom 22A are sealed or closed to
          the public, the video feeds to the overflow courtroom and the media room will be turned off.
          No sealed exhibits will be displayed.
   VII.   Violation of Order. Any violation of this order may result in the imposition of contempt
          sanctions against the violator individually and, if attending in the capacity of an employee or
          agent, against the employer or principal.


SO ORDERED.


                                                      /s/ James E. Boasberg
                                                      JAMES E. BOASBERG
                                                      United States District Judge
Date: April 10, 2025


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